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                                                                               FILED

                            UNITED STATES DISTRICT COURT
                                                                              APR -2 2008
                            EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division
                                                                         CLERK, US DISTRICT COURT
                                                                               NORFOLK. VA


UNITED STATES OF AMERICA,

v.

                                                          Action No. 2:08cr6

KYLE THOMAS LOUDERBACK,

               Defendant.




                        ACCEPTANCE OF PLEA OF GUILTY,
                          ADJUDICATION OF GUILT and
                               NOTICE OF SENTENCING



       Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there has been no timely objection, the plea of guilty of the defendant

to Count 2 of a ten (10) count Superceding Indictment, is now CONDITIONALLY

ACCEPTED and the defendant will be ADJUDGED GUILTY of such offense at the

sentencing.


       Sentencing is hereby scheduled for June 9, 2008 at 10:00 a.m.

       The Clerk is DIRECTED to forward a copy of this Order to counsel for defendant

and to the Assistant United States Attorney.

       IT IS SO ORDERED.




                                                             hf
                                               Walter D. Kelley, it,
Norfolk, Virginia                              United State! District Jodgt
April _g_, 2008
